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 1                                                                        Judge Marsha J. Pechman
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9

10   UNITED STATES OF AMERICA,                         )
                                                       )       NO. CR05-0071P
11                            Plaintiff,               )
                                                       )
12                    v.                               )       ORDER CONTINUING TRIAL
                                                       )
13   KEITH D. GILBERT and                              )
     GHASSAN H. HADDAD,                                )
14                                                     )
                              Defendants.              )
15                                                         )
16

17           The Court has considered the Stipulation executed by the parties pursuant to 18
18   U.S.C. § 3161(h)(8)(A) concerning a continuance of the trial in this case:
19           The Court finds that continuing the trial in this case is necessary in order to allow
20   defense counsel adequate time to investigate and effectively to prepare for trial.
21           The Court further finds, pursuant to 18 U.S.C. § 3161(h)(8)(A), that the ends of
22   justice served by continuing the trial in this case outweigh the interest of the public and of
23   the Defendants in a more speedy trial.
24           IT IS THEREFORE ORDERED that the trial in this case shall be continued until
25   March 20, 2006, and that the period of time from December 5, 2005, up to and including
26   March 20, 2006, shall be excludable time under 18 U.S.C. § 3161(h)(8)(A); and
27           IT IS FURTHER ORDERED that the deadline for filing pretrial motions in this case
28   shall be January 13, 2006, and that responses to motions shall be due January 27, 2006.

                                                                                    UNITED STATES ATTORNEY
                                                                                   700 STEWART STREET, SUITE 5220
                                                                                     SEATTLE, WASHINGTON 98101
     ORDER CONTINUING TRIAL/GILBERT (CR05-0071P) - 1                                       (206) 553-7970
             Case 2:05-cr-00071-MJP              Document 73      Filed 11/29/05      Page 2 of 2



 1           DONE this 29th day of November, 2005
 2

 3                                                     /S/Marsha J. Pechman
                                                       MARSHA J. PECHMAN
 4                                                     United States District Judge
 5   Presented by:
 6
     s/Andrew C. Friedman
 7   ANDREW C. FRIEDMAN
     Assistant United States Attorney
 8

 9   s/C. Andrew Colasurdo
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     ORDER CONTINUING TRIAL/GILBERT (CR05-0071P) - 2                                          (206) 553-7970
